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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


ARTHUR CARSON                                                                         PLAINTIFF

V.                                CASE NO. 4:18-cv-275-SWW

STEVE LANDERS KIA,
AND RUSSELL COMSTOCK,                                                              DEFENDANT


                            BRIEF IN SUPPORT OF
                 MOTION TO DISMISS FOR INSUFFICIENT PROCESS
                     & INSUFFICIENT SERVICE OF PROCESS.

       The Separate Defendant, LL University LLC d/b/a Steve Landers Kia moves to dismiss

the Complaint, pursuant to Fed. R. Civ. 12(b)(4), insufficient process, and Fed. R. Civ. 12(b)(5),

insufficient service of process. Steve Landers Kia is the fictitious name for LL University LLC.

Process was not addressed to the registered agent, an officer, or managing or general agent of LL

University LLC. Service was not made in person or by certified mail on the registered agent, an

officer, or managing or general agent of LL University LLC.

       Plaintiff’s summons was addressed to Steve Landers Kia, 4600 S. University Ave., Little

Rock, Arkansas. See Ex. 1, Summons. Steve Landers Kia is the fictitious name for LL

University LLC. See Ex.2. The Summons was not addressed to a natural person. Nor was

delivery restricted to a natural person. The summons was not addressed to the Registered Agent,

The Corporation Company, and it was not served on The Corporation Company. The summons

and subsequent service were deficient. In Frazier v. Experian Information Solutions, Inc., 2008

WL 4057987 (E.D. Ark. August 26, 2008), the court found that the summons and service were

defective because the summons was not addressed to a natural person and not served by

restricted delivery on a person authorized by the Arkansas Rules of Civil Procedure. The court
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noted that Fed.R.Civ.P. 4(e)(1) and 4(h)(1) provide the method for service on a corporation. For

service to be valid, it has be in accordance with Arkansas law, which authorizes service on an

officer, managing or general agent, or agent appointed by law to accept service. The Arkansas

Supreme Court requires strict compliance with its rules for service. Id. Also see: Bell v. United

States Department of Agriculture 2015 WL 6758151 n.7 (E.D. Ark. Nov. 5, 2015) (summons

must be addressed to natural person, specified by name, and served on person authorized by

Arkansas law).

       The Motion to Dismiss of Separate Defendant, LL University LLC d/b/a Steve Landers

Kia, should be granted.

                                             Respectfully submitted,

                                             /s/ Daniel R. Carter
                                             Daniel R. Carter (AR Bar # 80023)
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                                             Attorney for LL University LLC
                                             d/b/a Steve Landers Kia


                                CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which shall send notification of such filing to the following:
       Arthur Carson
       artcarson67@gmail.com
and via U.S. Postal Service, postage prepaid to:
       Arthur Carson
       2000 Rice Street
       Little Rock AR 72202
       Tel 501.508.1090
                                             /s/ Daniel R. Carter
                                             Daniel R. Carter
